       Case 2:07-cr-20411-GCS-VMM ECF No. 304, PageID.1364 Filed 11/30/15 Page 1 of 1
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)           Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                          Eastern District of Michigan

                    United States of America
                               v.                                          )
                                                                           )
                      D6 - KEENA BROOKS
                                                                           )    Case No:       07-20411
                                                                           )    USM No: 42180-039
Date of Original Judgment:         5/1/09                                  )
Date of Previous Amended Judgment:                                         )
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney



                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of u   ✔ the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔
           u DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of                   months is reduced to                                      .
                                             (Complete Parts I and II of Page 2 when motion is granted)

   Defendant is not eligible for a reduction in sentence as the defendant was deemed a Career Offender. The defendant's offense
level was determined by her criminal history and not by the quantity of controlled substances.




Except as otherwise provided, all provisions of the judgment dated                         May 1, 2009              shall remain in effect.
IT IS SO ORDERED.

Order Date:          November 30, 2015                               s/George Caram Steeh
                                                                                                         Judge’s signature


Effective Date:                                                      George Caram Steeh, U.S. District Judge
                     (if different from order date)                                                    Printed name and title
